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June 18, 2024


The Honorable John G. Koeltl
United States District Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Courtroom 14A
New York, NY 10007-1312


       Re: Leadenhall Capital Partners LLP et al. v. Wander et al., 24-cv-03453-JGK


Dear Judge Koeltl:

        Plaintiffs Leadenhall Capital Partners LLP and Leadenhall Life Insurance Linked Investments
Fund PLC (“Plaintiffs”) and the 777 Entity Defendants write jointly as directed by the Court at the
June 14, 2024 conference concerning the Temporary Restraining Order entered by the Court on June
7, 2024, which is currently set to expire on June 21, 2024. ECF No. 114.

        Pursuant to Federal Rule of Civil Procedure 65(b)(2), the parties agree that the Temporary
Restraining Order shall be extended for 14 days such that it will expire on July 5, 2024.

        The parties will also discuss whether a consensual order can be agreed upon by the parties that
would obviate the need for the Court to make a determination on whether to convert the Temporary
Restraining Order into other preliminary relief by July 5, 2024.



 Respectfully submitted,


 /s/ Leigh Nathanson .                              /s/ David Pellegrino .
 Leigh Nathanson                                    John G. McCarthy
 Brian Donovan                                      David Pellegrino
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